Case 1:19-cv-21485-RNS Document 1 Entered on FLSD Docket 04/18/2019 Page 1 of 14



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                        CASE NO.

  DONALD SHAPIRO, individually
  and on behalf of all others similarly situated,              CLASS ACTION

         Plaintiff,

  vs.

  PRIME LEAD SOLUTIONS, LLC,                                   JURY TRIAL DEMANDED
  a Florida Limited Liability Company,

         Defendant.
  ___________________________________________/

                                  CLASS ACTION COMPLAINT

         Plaintiff, Donald Shapiro (hereinafter “Plaintiff”), brings this class action under Rule 23 of

  the Federal Rules of Civil Procedure against Prime Lead Solutions, LLC, (“Prime Lead” or

  “Defendant”) for its violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227

  (hereinafter “the TCPA”), and the regulations promulgated thereunder. In support, Plaintiff alleges

  as follows:

                                   PRELIMINARY STATEMENT

          1.     Plaintiff brings this Class Action Complaint for damages, injunctive relief, and any

  other available legal or equitable remedies, resulting from the illegal actions of Prime Lead in

  negligently or willfully contacting Plaintiff on Plaintiff’s cellular telephone, in violation of the

  Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq., (“TCPA”), thereby invading

  Plaintiff’s privacy. Plaintiff alleges as follows upon personal knowledge as to himself and his own

  acts and experiences, and, as to all other matters, upon information and belief, including

  investigation conducted by his attorneys.



                                                    1
Case 1:19-cv-21485-RNS Document 1 Entered on FLSD Docket 04/18/2019 Page 2 of 14



          2.     “Month after month, unwanted robocalls and texts, both telemarketing and

  informational, top the list of consumer complaints received by the [FCC].”1 The TCPA is designed

  to protect consumer privacy by, among other things, prohibiting the making of autodialed or

  prerecorded-voice calls to cell phone numbers and failing to institute appropriate do-not-call

  procedures. 47 U.S.C. § 227(b)(1)(A)(iii); 47 C.F.R. 64.1200(d).

          3.     The TCPA was designed to prevent calls like the ones described within this

  complaint, and to protect the privacy of citizens like Plaintiff. “Voluminous consumer complaints

  about abuses of telephone technology – for example, computerized calls dispatched to private

  homes – prompted Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740,

  744 (2012).

          4.     Additionally, the FCC has explicitly stated that the TCPA’s prohibition on

  automatic telephone dialing systems “encompasses both voice calls and text calls to wireless

  numbers including, for example, short message service (SMS) calls.” U.S.C.A. Const. Amend. 5;

  Telephone Consumer Protection Act of 1991, § 3(a), 47 U.S.C.A. § 227(b)(1)(A)(iii).

  Kramer v. Autobytel, Inc., 759 F. Supp. 2d 1165 (N.D. Cal. 2010)

          5.     In enacting the TCPA, Congress intended to give consumers a choice as to how

  creditors and telemarketers may call them and made specific findings that “[t]echnologies that

  might allow consumers to avoid receiving such calls are not universally available, are costly, are

  unlikely to be enforced, or place an inordinate burden on the consumer. TCPA, Pub.L. No. 102–

  243, § 11. Toward this end, Congress found that:

                 [b]anning such automated or prerecorded telephone calls to the
                 home, except when the receiving party consents to receiving the call
                 or when such calls are necessary in an emergency situation affecting
                 the health and safety of the consumer, is the only effective means of


  1
         In re Rules & Regs. Implementing the TCPA, 30 FCC Rcd. 7961, ¶ 1 (2015).

                                                  2
Case 1:19-cv-21485-RNS Document 1 Entered on FLSD Docket 04/18/2019 Page 3 of 14



                  protecting telephone consumers from this nuisance and privacy
                  invasion.

  Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL 3292838, at* 4

  (N.D. Ill. Aug. 10, 2012) (citing Congressional findings on TCPA’s purpose).

          6.      In an action under the TCPA, a plaintiff must only show that the defendant “called

  a number assigned to a cellular telephone service using an automatic dialing system or prerecorded

  voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd,

  755 F.3d 1265 (11th Cir. 2014).

                                    JURISDICTION AND VENUE

          7.      This Court has federal question subject matter jurisdiction pursuant to 28 U.S.C. §

  1331 and 47 U.S.C. § 227.

          8.      Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2), because a

  substantial part of the events or omissions giving rise to the claims in this case occurred in this

  District, including the transmission of the subject unauthorized call and text advertisements.

          9.      The Court has personal jurisdiction over Prime Lead because it conducts business

  in this state, markets its services within this state, and has availed itself to the jurisdiction of the

  State of Florida by transmitting the subject unauthorized text advertisements to Plaintiff and Class

  Members in this state.

                                                PARTIES

          10.     Plaintiff’s domicile is in Miami-Dade County, Florida. Plaintiff is a citizen of the

  state of Florida.

          11.     Defendant, Prime Lead Solutions, LLC, is a Florida Limited Liability Company

  and citizen of the state of Florida, listing its principal address at 975 North Miami Beach Blvd.,

  North Miami Beach, Florida. Prime Lead Solutions, LLC is also registered in the state of Florida.

                                                     3
Case 1:19-cv-21485-RNS Document 1 Entered on FLSD Docket 04/18/2019 Page 4 of 14



         12.     Prime Lead is a Real Estate Investment Firm and Solutions Company that provides

  a wide range of services to homeowners, real estate brokerages and investors throughout the US.

         13.     Prime Lead promotes and markets its services, including cash offers, in part, by

  calling and sending unsolicited text messages to wireless phone users.

         14.     Prime Lead, directly or through other persons, entities or agents acting on its behalf,

  conspired to, agreed to, contributed to, authorized, assisted with, and/or otherwise caused all of

  the wrongful acts and omissions, including the dissemination of the unsolicited calls and text

  messages that are the subject matter of this Complaint.

                                    FACTUAL ALLEGATIONS

         15.     At all times relevant, Plaintiff was a citizen of the State of Florida. Plaintiff is, and

  at all times mentioned herein was, a “person” as defined by 47 U.S.C. § 153 (39).

         16.     Prime Lead is, and at all times mentioned herein was, a corporation and “persons,”

  as defined by 47 U.S.C. § 153 (39).

         17.     At all times relevant Prime Lead conducted business in the State of Florida and in

  Miami-Dade County, within this judicial district.

         18.     Prime Lead utilizes telemarketing calls and bulk SPAM text messages to market

  and advertise Prime Lead’s business, including at least one (1) pre-recorded call and one (1)

  unsolicited text message to Plaintiff.

         19.     For example, on March 15, 2019, at approximately 12:08 p.m. (EST), Prime Lead

  sent the following unsolicited texts message to Plaintiff’s cellular telephone ending in “9514”




                                                    4
Case 1:19-cv-21485-RNS Document 1 Entered on FLSD Docket 04/18/2019 Page 5 of 14




          20.    On March 15, 2019, at approximately 1:32 p.m. (EST), Prime Lead called to

  Plaintiff’s cellular telephone ending in “9514”. Plaintiff missed the call and called the number

  back.

          21.    The telemarketing call was transmitted to Plaintiff’s cellular telephone number

  ending in 9514 (“9414 Number”) , and within the time period that is relevant to this action.

          22.    Plaintiff talked to the agent, which resulted in his phone being unavailable to place

  or receive other calls and depleted the phone’s battery.

          23.    The impersonal and generic nature of Defendant’s text messages and the provision of

  opt-out instructions demonstrate that Defendant utilized an ATDS in transmitting the text messages.

          24.    At no time did Plaintiff provide Plaintiff’s cellular number to Prime Lead through

  any medium, nor did Plaintiff consent to receive such an unsolicited call and text message.

          25.    Plaintiff has never signed-up for, and has never used, Prime Lead’s services, and

  has never had any form of business relationship with Prime Lead.

          26.    Plaintiff is the subscriber and sole user of the 9514 Number and is financially

  responsible for phone service to the 9514 Number.

                                                   5
Case 1:19-cv-21485-RNS Document 1 Entered on FLSD Docket 04/18/2019 Page 6 of 14



         27.      Through the unsolicited SPAM text message, Prime Lead contacted Plaintiff on

  Plaintiff’s cellular telephone regarding an unsolicited service via an “automatic telephone dialing

  system,” (“ATDS”) as defined by 47 U.S.C. § 227(a)(1) and prohibited by 47 U.S.C. §

  227(b)(1)(A).

         28.      Upon information and belief, this ATDS has the capacity to store or produce

  telephone numbers to be called, using a random or sequential number generator.

         29.      Upon information and belief, this ATDS has the capacity to store numbers on a list

  and to dial numbers from a list without human intervention.

         30.      This text message constituted a call that was not for emergency purposes as defined

  by 47 U.S.C. § 227(b)(1)(A)(i).

         31.      Plaintiff did not provide Prime Lead or its agents prior express consent to receive

  calls and/or text messages, including unsolicited calls and text messages, to his cellular telephone,

  pursuant to 47 U.S.C.

         32.      The unsolicited call and text message by Prime Lead, or their agents, violated 47

  U.S.C. § 227(b)(1).

         33.      Prime Lead is and was aware that it is placing unsolicited robocalls to Plaintiff and

  other consumers without their prior express consent.

         34.      Plaintiff was damaged by Prime Lead’s call and text message. In addition to using

  Plaintiff’s cellular data, his privacy was wrongfully invaded, and Plaintiff has become

  understandably aggravated with having to deal with the frustration of repeated, unwanted calls,

  voicemails and robo-spam text messages forcing him to divert attention away from his work and

  other activities. See Muransky v. Godiva Chocolatier, Inc., 905 F.3d 1200, 1211 (11th Cir. 2018).

  (“[T]ime wasting is an injury in fact”…. “[A] small injury… is enough for standing purposes”).



                                                    6
Case 1:19-cv-21485-RNS Document 1 Entered on FLSD Docket 04/18/2019 Page 7 of 14



                                CLASS ACTION ALLEGATIONS

         35.     Plaintiff brings this class action under rules 23(a) and 23(b)(2) & (b)(3) of the

  Federal Rules of Civil Procedure on behalf of itself and of a similarly situated “Class” or “Class

  Members” defined as:

                 All persons in the United States who, within the four (4) years
                 prior to the filing of this Complaint, were sent a text message or
                 received a call, from Defendant or anyone on Defendant’s
                 behalf, to said person’s cellular telephone number, advertising
                 Defendant’s services, without the recipients’ prior express
                 written consent.

          36.    Excluded from the Class are: any Defendant, and any subsidiary or affiliate of that

  Defendant, and the directors, officers and employees of that Defendant or its subsidiaries or

  affiliates, and members of the federal judiciary.

          37.    This action has been brought and may properly be maintained as a class action

  against Prime Lead pursuant to Rule 23 of the Federal Rules of Civil Procedure because there is a

  well-defined community of interest in the litigation and the proposed Class is easily ascertainable.

  Plaintiff reserves the right to amend the Class definition if discovery and further investigation

  reveal that any Class should be expanded or otherwise modified.

         38.     Numerosity: At this time, Plaintiff does not know the exact number of Class

  Members, but among other things, given the nature of the claims and that Prime Lead’s conduct

  consisted of a standardized SPAM text messaging campaign electronically sent to particular

  telephone numbers and calls placed to cellular telephone numbers, Plaintiff believes, at a

  minimum, there are greater than forty (40) Class Members. Plaintiff believes that the Class is so

  numerous that joinder of all members of the Class is impracticable and the disposition of their

  claims in a class action rather than incremental individual actions will benefit the Parties and the

  Court by eliminating the possibility of inconsistent or varying adjudications of individual actions.

                                                      7
Case 1:19-cv-21485-RNS Document 1 Entered on FLSD Docket 04/18/2019 Page 8 of 14



         39.      Upon information and belief, a more precise Class size and the identities of the

  individual members thereof are ascertainable through Prime Lead’s records, including, but not

  limited to Prime Lead’s text and marketing records.

         40.      Members of the Class may additionally or alternatively be notified of the pendency

  of this action by techniques and forms commonly used in class actions, such as by published notice,

  e-mail notice, website notice, fax notice, first class mail, or combinations thereof, or by other

  methods suitable to this class and deemed necessary and/or appropriate by the Court.

         41.      Existence and Predominance of Common Questions of Fact and Law: There is

  a well-defined community of common questions of fact and law affecting the Plaintiff and

  members of the Class. Common questions of law and/or fact exist as to all members of the Class

  and predominate over the questions affecting individual Class members. These common legal

  and/or factual questions include, but are not limited to, the following:

               a. Whether, within the four years prior to the filing of this Complaint, Prime Lead or

                  its agents called, called using pre-recorded messages, left voicemails and sent any

                  unsolicited text messages (other than a message made for emergency purposes or

                  made with the prior express consent of the called party) to a Class member using

                  any automatic dialing and/or SMS texting system to any telephone number assigned

                  to a cellular phone service;

               b. How Prime Lead obtained the numbers of Plaintiff and Class members;

               c. Whether the dialing system used to call and send the subject text messages is an

                  Automatic Telephone Dialing System;

               d. Whether Prime Lead engaged in telemarketing when it called and sent the text

                  messages which are the subject of this lawsuit;



                                                   8
Case 1:19-cv-21485-RNS Document 1 Entered on FLSD Docket 04/18/2019 Page 9 of 14



               e. Whether the calls, voicemail and text messages sent to Plaintiff and Class Members

                  violate the TCPA and its regulations;

               f. Whether Prime Lead willfully or knowingly violated the TCPA or the rules

                  prescribed under it;

               g. Whether Plaintiff and the members of the Class are entitled to statutory damages,

                  treble damages, and attorney fees and costs for Prime Lead’s acts and conduct;

               h. Whether Plaintiff and members of the Class are entitled to a permanent injunction

                  enjoining Prime Lead from continuing to engage in its unlawful conduct; and

               i. Whether Plaintiff and the Class are entitled to any other relief.

         42.      One or more questions or issues of law and/or fact regarding Prime Lead’s liability

  are common to all Class Members and predominate over any individual issues that may exist and

  may serve as a basis for class certification under Rule 23(c)(4).

         43.      Typicality: Plaintiff’s claims are typical of the claims of the members of the Class.

  The claims of the Plaintiff and members of the Class are based on the same legal theories and arise

  from the same course of conduct that violates the TCPA.

         44.      Plaintiff and members of the Class each received at least one SPAM text

  advertisement and/or telephone call, advertising the Defendant’s real estate brokerage services,

  which Defendant sent or caused to be sent to Plaintiff and the members of the Class.

         45.      Adequacy of Representation: Plaintiff is an adequate representative of the Class

  because Plaintiff’s interests do not conflict with the interests of the members of the Class. Plaintiff

  will fairly, adequately and vigorously represent and protect the interests of the members of the

  Class and has no interests antagonistic to the members of the Class. Plaintiff has retained counsel,




                                                    9
Case 1:19-cv-21485-RNS Document 1 Entered on FLSD Docket 04/18/2019 Page 10 of 14



  who are competent and experienced in litigation in the federal courts, TCPA litigation and class

  action litigation.

          46.     Superiority: A class action is superior to other available means for the fair and

  efficient adjudication of the claims of the Class. While the aggregate damages which may be

  awarded to the members of the Class are likely to be substantial, the damages suffered by

  individual members of the Class are relatively small. As a result, the expense and burden of

  individual litigation makes it economically infeasible and procedurally impracticable for each

  member of the Class to individually seek redress for the wrongs done to them. Plaintiff does not

  know of any other litigation concerning this controversy already commenced against Prime Lead

  by any member of the Class. The likelihood of the individual members of the Class prosecuting

  separate claims is remote. Individualized litigation would also present the potential for varying,

  inconsistent or contradictory judgments, and would increase the delay and expense to all parties

  and the court system resulting from multiple trials of the same factual issues. In contrast, the

  conduct of this matter as a class action presents fewer management difficulties, conserves the

  resources of the parties and the court system, and would protect the rights of each member of the

  Class. Plaintiff knows of no difficulty to be encountered in the management of this action that

  would preclude its maintenance as a class action.

          47.     Class-Wide Injunctive Relief and Rule 23(b)(2): Moreover, as an alternative to

  or in addition to certification of the Class under Rule 23(b)(3), class certification is warranted

  under Rule 23(b)(2) because Prime Lead has acted on grounds generally applicable to Plaintiff and

  members of Class, thereby making appropriate final injunctive relief with respect to Plaintiff and

  Class Members as a whole. Plaintiff seeks injunctive relief on behalf of Class Members on grounds

  generally applicable to the entire Class in order to enjoin and prevent Defendant Prime Lead’s



                                                 10
Case 1:19-cv-21485-RNS Document 1 Entered on FLSD Docket 04/18/2019 Page 11 of 14



  ongoing violations of the TCPA, and to order Prime Lead to provide notice to them of their rights

  under the TCPA to statutory damages and to be free from unwanted text messages.

                                  COUNT I
          VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                              47 U.S.C. § 227(b)

         48.     Plaintiff incorporates by reference all of the allegations contained in all of the above

  paragraphs of this Complaint as though fully stated herein.

         49.     It is a violation of the TCPA to make “any call (other than a call made for

  emergency purposes or made with the prior express consent of the called party) using any

  automatic telephone dialing system. . .to any telephone number assigned to a . . .cellular telephone

  service . . .” 47 U.S.C. § 227(b)(1)(A)(iii).

         50.     “Automatic telephone dialing system” refers to any equipment that has the

  “capacity to dial numbers without human intervention.” See, e.g., Hicks v. Client Servs., Inc., No.

  07-61822, 2009 WL 2365637, at *4 (S..D. Fla. June 9, 2009) (citing FCC, In re: Rules and

  Regulations Implementing the Telephone Consumer Protection Act of 1991: Request of ACA

  International for Clarification and Declaratory Ruling, 07-232, Par. 12, n.23 (2007)).

         51.     Defendant – or third parties directed by Defendant – used equipment having the

  capacity to dial numbers without human intervention to make non-emergency telephone calls to

  the cellular telephones of Plaintiff and the other members of the Class defined above.

         52.     These calls were made without regard to whether or not Defendant had first

  obtained express permission from the called party to make such calls. In fact, Defendant did not

  have prior express consent to call the cell phones of Plaintiff and the other members of the putative

  Class when its calls were made.




                                                   11
Case 1:19-cv-21485-RNS Document 1 Entered on FLSD Docket 04/18/2019 Page 12 of 14



         53.     Defendant has, therefore, violated Sec. 227(b)(1)(A)(iii) of the TCPA by using an

  automatic telephone dialing system to make non-emergency telephone calls to the cell phones of

  Plaintiff and the other members of the putative Class without their prior express written consent.

         54.     The foregoing acts and omissions of Prime Lead constitutes numerous and multiple

  violations of the TCPA, including but not limited to each and every one of the above-cited

  provisions of 47 U.S.C. § 227 et seq.

         55.     As a result of Prime Lead’s negligent violations of 47 U.S.C. § 227 et seq., Plaintiff

  and the Class are entitled to an award of $500.00 in statutory damages, for each and every violation,

  pursuant to 47 U.S.C. § 227(b)(3)(B).

         56.     Plaintiff and the Class are also entitled to and seek injunctive relief prohibiting such

  conduct in the future.

         WHEREFORE, Plaintiff respectfully requests the Court grant Plaintiff and the Class

  members relief against Prime Lead, as set forth in the Prayer for Relief below.

                                    COUNT II
                    KNOWING AND/OR WILLFUL VIOLATIONS OF THE
                      TELEPHONE CONSUMER PROTECTION ACT
                                 47 U.S.C. § 227(b)

         57.     Plaintiff incorporates by reference all of the allegations contained in paragraphs 1

  through 49 of this Complaint as though fully stated herein.

         58.     At all relevant times, Defendant knew or should have known that its conduct as

  alleged herein violated the TCPA.

         59.     Defendant knew that it did not have prior express consent to make these calls, and

  knew or should have known that its conduct was a violation of the TCPA.

         60.     Because Defendant knew or should have known that Plaintiff and Class Members

  did not give prior express consent to receive autodialed calls, the Court should treble the amount

                                                   12
Case 1:19-cv-21485-RNS Document 1 Entered on FLSD Docket 04/18/2019 Page 13 of 14



  of statutory damages available to Plaintiff and members of the putative Class pursuant to §

  227(b)(3) of the TCPA.

         61.      As a result of Prime Lead’s knowing and/or willful violations of 47 U.S.C. § 227(b),

  Plaintiff and The Class are entitled to an award of $1,500.00 in statutory damages, for each and

  every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

         62.      Plaintiff and the Class are also entitled to and seek injunctive relief prohibiting such

  conduct in the future.

         WHEREFORE, Plaintiff respectfully requests the Court grant Plaintiff and the Class

  members relief against Prime Lead, as set forth in the Prayer for Relief below.

                                        PRAYER FOR RELIEF
         WHEREFORE, Plaintiff requests that the Court enter judgment in his favor and in favor

  of the class, against Prime Lead for:

               a. An order certifying this case as a class action, certifying Plaintiff as representative

                  of the Class, and designating Plaintiff’s attorneys Class counsel;

               b. Statutory damages of $500 per text and call;

               c. Willful damages at $1,500 per text and call;

               d. A declaration that Prime Lead’s practices described herein violate the Telephone

                  Consumer Protection Act, 47 U.S.C. § 227(b)(1)(A)(iii);

               e. An injunction prohibiting Prime Lead’s from using an automatic telephone dialing

                  system to text and/or call numbers assigned to cellular telephones without the prior

                  express written consent of the called party;

               f. Reasonable attorney’s fees and costs; and

               g. Such further and other relief as this Court deems reasonable and just.



                                                    13
Case 1:19-cv-21485-RNS Document 1 Entered on FLSD Docket 04/18/2019 Page 14 of 14



                                  DEMAND FOR JURY TRIAL

         Plaintiff demands a trial by jury.


  Dated: April 18, 2019                       Respectfully submitted,

                                              /s/ Seth Lehrman
                                              Seth M. Lehrman (FBN 132896)
                                              E-mail: seth@epllc.com
                                              EDWARDS POTTINGER LLC
                                              425 North Andrews Avenue, Suite 2
                                              Fort Lauderdale, FL 33301
                                              Telephone: 954-524-2820
                                              Facsimile: 954-524-2822

                                              Attorneys for Plaintiff




                                                14
